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UNITED STATES DISTRICT COURT, EASTERN DISTRICT OF NEW YORK

United States of America CaseNo. Quy pty u il
v. Jato Israel Wa ld én. Defendant

ORDER SETTING CONDITIONS OF RELEASE AND APPEARANCE BOND
RELEASE ORDER

It is hereby ORDERED that the above-named defendant be released subject to the Conditions of Release below and:
(L]} On Personal Recognizance on the defendant’s promise to appear at all scheduled proceedings as required, or
‘oe Upon Bond executed by the defendant in the amount of $ a which shall be
unsecured; cosigned by the financially responsible sureties identified on this bond;
secured by Collateral set forth on the Appearance Bond Supplement.

CONDITIONS OF RELEASE

IT IS ORDERED that the defendant’s release is subject to the following conditions, which the Court finds are the least
restrictive conditions necessary to reasonably assure the appearance of the defendant as required and the safety of any
other person and the community:

(1) The defendant must appear in court as required and surrender as directed for service of any sentence imposed.

(2) The defendant must not commit a federal, state or local crime while on release.

(3) The defendant must cooperate in the collection of DNA sample if it is authorized by 34 U.S.C. § 40702.

(4) | The defendant must advise the Court in writing before making any change in residence or telephone number.

(5) The defendant must not possess a firearm, destructive device or other dangerous weapon.

(6) The defendant must not use or unlawfully possess a narcotic drug or other controlled substances defined in 2] U.S.C.
§ 802, unless prescribed by a licensed medical practitioner, Marijuana is still prohibited under federal law.

(7) _As marked below, the defendant must also:

( (a) submit to pretrial supervision and report to Pretrial Services as directed. The defendant is subject to random
home contacts and verification of employment as deemed appropriate to monitor compliance with the
conditions of release. The defendant shall notify Pretrial Services as soon as possible of any arrests.

({]) &) (| continue or actively seek employment. [_] continue or start an education and/or vocational program.

( (c) surrender any passport to Pretrial Services by and not obtain a passport or any
international travel document. Lf
( (d) not leave the followin except for travel to and from court: ey rk City; Long Island;
[_]New York State; [New Jersey; [_] Continental United States; [fs approved by Pretrial Services;
ther: 4 DNY
(L¥1)_(e) not have any contact with the following individual(s), location or entity: _.
( (f) maintain residence at: or at a location approved by Pretrial Services?
((]) (g) undergo testing, evaluation and/or treatment for substance abuse as directed by Pretrial Services.
( (h) undergo evaluation and treatment for mental health problems, as directed by Pretrial Services.
(L_]) @ be subject to the following component of location monitoring, with technology as determined by Pretrial Services:
( C) (i) Curfew — restricted to residence Cc] daily from to ; or
[Jas directed by Pretrial Services.
Carls paml (Df) (i) Home Detention — restricted to residence at all times, except for court appearances, court-ordered

A tt & : obligations, attorney visits, religious services, medical appointments, employment, education,
ATA Cal C — > — substance abuse/mental health services and other actiyjties approved in advance by Pretrial Services.
Ablo Additionally, the Court permits: Sée&, ee
((])) Gii) Home Incarceration — 24-hour lock-down at residence, except for medical necessities, court
appearances, and any other activities ordered by the Court.
()) Gv) Stand Alone Monitoring ~ no residential restrictions; this condition will be used in conjunction
with global positioning system (GPS) technology.
rh (j) pay all or part of cost of location monitorin , based on ability tg pay as determined by Pretrial Services.
(IM) a) Agam Walsn cendits CSee feof 20>

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APPEARANCE BOND
I, the undersigned defendant, and each surety who signs the bond, acknowledge that I have read this Order Setting
Conditions of Release and Appearance Bond and have either read all the other conditions of release or have had those
itions explained to me. (If the bond is secured by collateral, complete Appearance Bond Supplement.)
gh lad

Date

, Surety Address Date

, Surety Address Date
RELEASE OF THE BOND

This appearance bond may be terminated at any time by the Court. This bond will be satisfied, and the collateral will be
released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to serve a sentence.

FORFEITURE OF THE BOND |

If the defendant does not comply with the conditions set forth in this Order Setting Conditions of Release and Appearance
Bond, this appearance bond may be forfeited and the Court may immediately order the amount of the bond and any
collateral to be surrendered to the United States. At the request of the United States, the Court may order a judgment of
forfeiture against the defendant and each surety for the entire amount of the bond, including interest and costs.

ADVICE OF PENALTIES AND SANCTIONS
TO THE DEFENDANT - YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

~ Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and
could result in imprisonment, a fine, or both.

- While on release, if you commit a federal felony offense, the punishment is an additional prison term of not more than
ten years, and for a federal misdemeanor offense, the punishment is an additional prison term of not more than one year.
This sentence will be consecutive to (i.e., must follow) any other sentence you receive.

- It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or
intimidate or attempt to intimidate a witness, victim, juror, informant, or officer of the Court. The penalties for tampering,
retaliation, or intimidation are significantly more serious if they involve a killing or attempted killing.

- If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence, you
may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be
fined not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined
not more than $250,000 or more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony ~ you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

- A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive.
In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF THE DEFENDANT

1 acknowledge that I am the defendant in this case and that | am aware of the conditions of release. I promise to obey all
conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and

sanctions set forth above. je /

Wefendant’s Signature”

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Appearance Bond Supplement

Defendant: Saco rs de { wal den Amount of Bond: $ 900,000

The following surety or sureties, which may include the defendant, acknowledge that they have read the Order Setting
Conditions of Release and Appearance Bond or had these conditions explained to them. They further acknowledge
that they, jointly and severally, are bound to pay the United States of America the sum of the amount of the bond as
set forth in that Order. Their obligation shall be secured by their interest in the following Collateral:

[J Cash deposited in the Registry of the Court in the sum of $ ;
[4 Property (premises, securities, bonds or other asset) identified below;
For any premises, the surety agrees to execute a confession of judgment, mortgage or lien in form approved by
the U.S. Attorney’s Office, to be duly filed with the proper local or state authorities on or before 8/8/2024 -
[| For any securities, bonds or other assets, the surety agrees to have the property restrained.

Each owner of the Collateral agrees not to sell the property, allow further claims or encumbrances to be made against
it, or do anything to reduce its value while.the Appearance Bond is in effect.

Acknowledged Before

ipa Qs USMI
efron TR USMJ

Address Date

USM]
, Surety
USMJ
, surety
USMJ
, surety
USM]
, surety
Signed and Acknowledged by all 20 USMJ

the above sureties before me on

The bond shall be secured by the interest of the surety in the following property or properties:

Property located at:
Owned by:

Property located at:
Owned by:

Property located at: :
Owned by:

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Defadmt: SACO WADE Dis. No. NY Uy $3
Supplemental Conditions of Release in Cases subject to Pub, Ea No. 109-248 AS REFECTED

iN PAGE 5.
In accordance with the Adam Walsh Child Protection and Safety Act of 2006, Pub. L. No. 109-248, the defendant
is subject to the following conditions of release: %:

[J 7. ‘The defendant is placed under the supervision of the U.S, Pretrial Services Agency. Defendant must repart to the
U.S. Pretrial Services Agency as directed end is subject random visits by a Pretrial Services officer at defendant's
residence and place of work, if applicable,

[| 8 The defendant is subject to electronic monitoring and kome confinement es follows:

[] (i) Home Incarceration, The defendant is aubject to home confinement at all titnes, except for medical
needs or treatment, attomey visits and court sppearances pre-epproved by the U. S, Pretrial Services
Agency;

or

[| (i) Home Detention, Defendant must stay at bis residence at all times, except for employment,
education, religious services, medical, substance abuse, or mental heatth treatment, attorney visits,
court sppearances, court-ordered obligations, or other activities pre-spproved by the U. S. Pretrial

Services Agency.

or
[| (ii) Curfew only. Defendant must abide by the curfew set in par. 9.
[| 9, Curfew, Without limiting any of the requirements in per. 8, the defendant may not leave his
residence from p.m. to aum., except for emergency medical treatment,
[| 10. The defendant must ebide by the following restrictions on personal association, place of abode, or travel:

[] 8, The defendant shall not have any contast or association with any individual under the age of 18, except when
the minor is in the presenoe of another adult who is the parent or legal guardian of the minor. The defendant
may cot communteate with any individual under the age of 18 in writing, over the telephone o7 via any

electronic means,

[7] b. The defendant shall avoid areas frequented by children under the age of 18, including schoo! yards, parks,
playgrounds, fast food restaurants near schools and arcades.

[] ce. The defendant must reside at

[]¢ Other:

il. The defendant must avoid sll contact, direct or indirect, with any person who is or who may become 8 victim or
potential witness in the subject investigation or prosecution.

12, The defendant may not possess any firearm, destructive device, or other dangerous weapons,
dditio ns of

The defecdant must undergo mental health evaluation and/or treahnent specific to the offease charged, as directed
by the U.S. Pretrial Services Agency.

14, The defendant shall pay all or part of the cost of electronic monitoring program and any required mental health
treatment based on the ability to pay, as determined by the U. 8. Pretrial Services Agency.

1S. The defendant may not use a computer and/or access the Internet except as may be necessary for employment
purposes only.

16, The U.S, Pretrial Services Agency may inspect any computer or devices with Internet access belonging to the
defendant and install computer monitoring software as deemed appropriate. The defendant must pay all or part of
the cost of the monitoring software installed bazed on his sbility to pay as determined by the U, S. Pretrial Servicea

[] 17, Other:

SO ORDERED on 232i Hy / : 2H}
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fic to the offense charged,
as directed by Pretrial Services, The defendant shall pay all or part of the cost of any required mental
health treatment based on the ability to pay, as determined by Pretrial Services.
12. The defendant may not use a computer and/or access the internet through any means, except for the

contact with any individual under the age of 18,
* Computer use and internet access is permitted only as may be necessary to communicate with
Pretrial Services, defense counsel, treatment Provider, or anyone else with prior approval from

Pretrial Services.

defendant must pay all or part of the cost of the monitoring software installed. ees
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